March 24, 2022

Judge Pamela Pepper
Seventh Circuit
U.S. Courthouse & Federal Building
517 East Wisconsin Avenue
Room 362
Milwaukee, WI 53202

Dear Judge Pamela Pepper,
       I am writing this letter to you to respectfully request possible
assistance with a legal matter involving an individual you may remember from a
previous case of yours.
       I am an inmate at FCI Elkton who was incarcerated with another inmate
named Todd Dyer. He was advising me on my 2255 when he found out that I had a
retirement account with a pproximately $185,000.00 in it. He asked how I had it
invested and I told him my sister had it in a joint savings account. He advised
otherwise and said she could wipe out my account at any time. He recommended I
contact the bank and inquire as to the balance .
       After doing so, I realized my sister had taken approximately $10,000.00
without talking to me.    Todd recommended   that I change Power of Attorneys and
transfer the money away from my sister. He said, "My secretary is very
trustworthy and she would be willing to be your POA." After reviewing the POA
   '
forms and notary stamps and signatures, I had the bank transfer my total
retirement to Tracy Bolton (his secretary, my new POA).
       After she received the cashiers check, she was instructed by Todd Dyer,
through my e-mail I had s tarted to write to her, what to do. He told her to
endorse the check to Father Melvin Krumdick (a Catholic priest), and he would
give her three checks for $50,000.00 each, and she was to put $50,000.00 in a
TADD 3 account (trust) and put a second $50,000.00 in a Todd Dyer irrevocable
trust and give $50,000.00 to Father Melvin Krumdick for his trouble. This was
not my intention for my money. Tracy Bolton was to create a trust for my
daughter and put the money in it. Todd said she had to do it that way or she
would have to pay income tax on the money she received. He said he was in an
active lawsuit with a man named Borst and when he won, he would give me
$50,000.00 for being his associate if I helped him financially by loaning him
$1,000.00 each month. I did not want to, but they had my money and Power of
Attorney.
       Tracy contacted my retirement union and had them send her my retirement
check for the next twenty-four months. My total loss before I could change my
retirement back to me was $200,000.00.

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       Despite having contacted multiple attorneys regarding this situation, I
am no closer to righting- that which has been wronged concerning my personal
finances. If you have any guidance as to how to prosecute these three
individuals, it would be greatly appreciated. Todd Dyer has been transferred to
Yankton.




Richard Sill~
21766-026
FCI Elkton
PO Box 10.
Lisbon, OH 44432




Todd Dyer case numbers:

19-cv-752-pp
19-cv-1319-pp
15-cr-1145




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